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 1                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
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 4    S.O, by and through her Mother         )
      and Next Friend, LEAH PIRES,           )
 5                                           ) Civil Action
                            Plaintiff        )
 6                                           ) No. 15-11789-FDS
                                             )
 7    vs.                                    )
                                             )
 8    UNITED STATES OF AMERICA,              )
                         Defendant
 9

10
      BEFORE:   THE HONORABLE F. DENNIS SAYLOR, IV
11

12
                                 STATUS CONFERENCE
13

14

15
                 John Joseph Moakley United States Courthouse
16                              Courtroom No. 2
                               1 Courthouse Way
17                             Boston, MA 02210

18
                                 February 1, 2018
19                                  2:31 p.m.

20

21

22

23                      Valerie A. O'Hara, FCRR, RPR
                            Official Court Reporter
24               John Joseph Moakley United States Courthouse
                          1 Courthouse Way, Room 3204
25                             Boston, MA 02210
                           E-mail: vaohara@gmail.com
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 1    APPEARANCES:

 2    For The Plaintiff:

 3         Kenneth M. Levine & Associates, LLC, by KENNETH M. LEVINE,
      ESQ., 32 Kent Street, Brookline, Massachusetts 02445;
 4
      For the Defendant:
 5
           United States Attorney's Office, by RAYFORD A. FARQUHAR,
 6    ASSISTANT UNITED STATES ATTORNEY, and JESSICA P. DRISCOLL,
      ASSISTANT UNITED STATES ATTORNEY, 1 Courthouse Way, Suite 9200,
 7    Boston, Massachusetts 02110.

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           1                                   PROCEEDINGS

           2                THE CLERK:    Court is now on record in the matter of

           3    S.O, et al vs. David Edinburgh, M.D., Civil Action Number

           4    15-11789.

           5                Will counsel please identify yourselves for the

           6    record.

           7                MR. LEVINE:     Kevin Levine for the plaintiff, your

           8    Honor.

           9                THE COURT:    Good afternoon.

02:31PM   10                MS. DRISCOLL:    Jessica Driscoll for the defendant,

          11    your Honor.

          12                THE COURT:    Good afternoon.

          13                MR. FARQUHAR:    Good afternoon, your Honor,

          14    Ray Farquhar for the defendant.

          15                THE COURT:    Good afternoon.    This matter, as you know,

          16    settled or appeared to have settled some time ago.          An issue

          17    was raised by the government concerning the precise

          18    documentation of the settlement, including the annuity

          19    contract.    I issued an order requiring Mr. Levine to respond,

02:32PM   20    which he did, and the question is is there something else that

          21    I ought to be doing?      I'm obviously quite concerned about the

          22    way this played out, but I want to hear from the government as

          23    to its position.     Ms. Driscoll -- Mr. Farquhar.

          24                MR. FARQUHAR:    Your Honor, before we start, this

          25    matter does involve a minor, and I'm unfamiliar with one person
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           1    sitting in the back of the courtroom.        The other two are

           2    government employees.

           3              THE COURT:    Well, I think I suspect we don't need to

           4    get into the details of actually the medical issues, for

           5    example, it happened with a minor, so if it looks like we're

           6    getting into something genuinely confidential, either the

           7    dollar amounts or the actual medical condition of the minor,

           8    then I'll ask the courtroom to be cleared.

           9              MR. FARQUHAR:     Thank you, your Honor.      Other than

02:33PM   10    that, Ms. Driscoll will address the matter.

          11              THE COURT:    Ms. Driscoll.

          12              MS. DRISCOLL:     Good afternoon, your Honor.         The reason

          13    the government brought this to the Court's attention, we had

          14    two primary concerns.     The first was to ensure that the minor

          15    child, in fact, got the money she was entitled to under the

          16    settlement agreement.

          17              THE COURT:    Yes.

          18              MS. DRISCOLL:     And, secondly, that we wanted to make

          19    sure that the government is in no way obligated under the

02:33PM   20    contract, which it did not sign, would not have signed.

          21              THE COURT:    It appears to bear your forged signature,

          22    which is what I'm concerned about.

          23              MS. DRISCOLL:     It does, your Honor, but that aside,

          24    the United States, when we settle these cases, typically we

          25    fund the annuity contract but do not sign it and become a party
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           1    to it.

           2               The United States is not in a position to be a

           3    fiduciary to this young child, to act as the owner of the

           4    annuity going forward.      We would be required to sign off on any

           5    changes to the contract, things like that, so usually we fund

           6    it, and the annuity is either purchased in the name of the

           7    trust or the guardian for the child, so that's of concern, and

           8    that's why we brought it to the Court, and, indeed, I did not

           9    sign the documents, nor would I have.

02:34PM   10               THE COURT:    All right.   Mr. Levine.

          11               MR. LEVINE:    Your Honor, as I expressed in the

          12    response, I'm embarrassed to stand here, your Honor.            We made a

          13    mistake.    I was showing people in my office how to fill things

          14    out, and my wife had been ill, and I was in and out.            It

          15    shouldn't have happened.      We made a mistake.     We weren't

          16    getting any -- the release that we signed in court was the

          17    correct release.

          18               The one that was sent over to the annuity company

          19    was -- your Honor, I was showing -- from what I can piece

02:34PM   20    together in my office, I was showing people how to do some

          21    things, and I said this is how you fill out the names in these

          22    things.    It was a sample.    It didn't have the right terms.       It

          23    wasn't intended to be sent.      It should have been thrown away,

          24    and the same thing for the other contract.

          25               My understanding would have been that the annuity
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           1    company would have dealt directly with the government about the

           2    annuity contract.     I don't really deal with annuity contracts.

           3    The company would deal with the defendant about that, but I

           4    think it's the same situation, I think I was showing people --

           5    they had sent me the blank.      I was showing people -- we weren't

           6    trying to gain any advantage.       We wouldn't have gained any

           7    advantage.

           8              I think the issue of the -- I mean, I sent counsel a

           9    copy of a letter I sent to the annuity company with the correct

02:35PM   10    release, and I supplied counsel with copies of all the checks

          11    so that they would know that all the money was paid out as your

          12    Honor ordered in the Order, and it was exactly as your Honor

          13    ordered, and, you know, obviously I can work with counsel, with

          14    the government to withdraw the agreement and that we can solve

          15    because the annuity -- there is a trust.

          16              The trust is properly created, so those are all

          17    solvable problems, but the issue of how those documents got

          18    over to the annuity company is just simply our own fault.         It

          19    just, you know, I was in and out, and I said the annuity

02:36PM   20    company asked for a copy of the release, and somebody just

          21    picked up something off my desk that shouldn't have been sent.

          22              There's no excuse, and I'm not trying to make any

          23    excuse.   I take responsibility for the actions of everyone in

          24    my office because it's my office, but the release that, I mean,

          25    there is a valid release, so we weren't -- there would have
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           1    been no advantage to send over the incorrect one because we had

           2    the valid one that was signed in court before we appeared

           3    before your Honor.

           4              So, I mean, if -- you know what, your Honor, I've been

           5    practicing a long time.      This is easily the most ridiculously

           6    stupid thing that's ever come out of my office, and I'm

           7    absolutely -- I'm almost speechless to even try to explain how

           8    ridiculously stupid this is and how I am and how this could

           9    have even occurred in my office.       I mean, I'm stumbling because

02:37PM   10    I'm not even sure how to properly express my apology for this

          11    mistake happening.

          12              You know, my wife was ill and had some surgery less

          13    than a week earlier, and I was mostly with her, which is not an

          14    excuse in any way, and I'm not trying to make one.          That is

          15    what is going on.     I was trying to deal with her, and we were

          16    trying to regain her ability to walk at that time.          We weren't

          17    exactly sure just yet, she has, in fact, since that time, but

          18    within the week of the operation, we weren't at that point

          19    quite sure she would regain her ability to walk, so whether

02:38PM   20    it's a mixture of being distracted, using it or trying to show

          21    some people what all these documents are about.          It's

          22    unfortunately a perfect storm of stupidity that got us to this

          23    point, and I'm not sure what else I can say that would explain

          24    more completely.

          25              THE COURT:    All right.    It seems to me the first step
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           1    is, unless I have this wrong, I think the annuity contract and

           2    settlement agreement, correct copies not signed by the

           3    government or not by Ms. Driscoll need to be substituted so

           4    that the documentation is correct.

           5              MR. LEVINE:     I've already done that.     I sent counsel a

           6    letter, a copy of a letter I sent.        I have a copy for your

           7    Honor.   I sent a copy of the correct release to the annuity

           8    company, and my letter says to the settlement people that it's

           9    come to my attention due to a mistake in my office the

02:39PM   10    incorrect stipulation was provided, and I attached the correct

          11    one that was signed by all the parties in court that day, so

          12    I've already sent that along to be corrected.

          13              THE COURT:    Ms. Driscoll.

          14              MS. DRISCOLL:     I received the letter with a copy of

          15    the correct stipulation.      What I don't think has been corrected

          16    is the annuity contract, and the application should be made not

          17    on behalf of the government but on behalf of someone who will

          18    be in a position to be a fiduciary to the child, whether it's

          19    the trustee of the trust or her adopted mother, who is the

02:39PM   20    plaintiff in this case.

          21              THE COURT:    All right.    I would like that to happen

          22    forthwith.    If necessary, I can issue a court order.          I'm not

          23    quite sure of my power here, but I'll exercise it to the

          24    fullest extent of my authority to ensure that the government is

          25    not -- not only not bound by that contract but that no
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           1    signature of a government agent appears on that contract.

           2              MR. LEVINE:    I'll take care of that.      That I can take

           3    care of later on today or tomorrow.        The trustee, the mother is

           4    the trustee of the trust.      The trust has a tax I.D. number.

           5    It's a valid trust, and the monies that were paid were put into

           6    the trust, so I will contact the annuity company, and I will

           7    make the change immediately.       That I'm sure I can do without

           8    any issue.

           9              THE COURT:    All right.    And then assuming that all

02:40PM   10    that is put in place, the question remains whether that is

          11    enough, whether we stop there with the substitute settlement

          12    agreement and annuity contract or whether something else

          13    occurs.

          14              What I would like is for the government to file

          15    something within two weeks in writing, that is, by

          16    February 15th as to whether it intends to seek any kind of

          17    sanction or reprimand or whether a referral to the Board of Bar

          18    Overseers is appropriate.

          19              I'd like the government's view on that, and I know

02:41PM   20    that it's not a simple determination within the government

          21    bureaucracy to make, but I think one way or the other, I want

          22    the government's view on that, and I'll obviously let

          23    Mr. Levine respond to that.

          24              I may have my own independent obligations.            I'm not

          25    sure what's appropriate here, but I want to start with getting
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           1    the government's position on that.        When I say sanctions, that

           2    is litigation-type sanctions or any other litigation-type

           3    sanctions or Bar referral sanctions, either within the

           4    Commonwealth, that is, to the Board of Bar Overseers or

           5    internally pursuant to our own District Court set of sanctions.

           6               I'm not saying that sanctions are appropriate or not

           7    appropriate, I just want to start listening to the government's

           8    view on that.     Okay.   I'll let Mr. Levine respond, and we'll

           9    take it from there.

02:42PM   10               At the risk of stating the obvious, Mr. Levine, you're

          11    a professional, a member of the Bar, you have a license to

          12    practice law, and it is incumbent upon you, no matter what is

          13    happening in your personal life or however disorganized your

          14    office may be to take care that matters like this don't occur,

          15    and it is a particularly grave matter in my mind to have a

          16    document or two documents in this case that purport to be

          17    signed by someone who neither signed it nor authorized that

          18    signature to be given.      You have laid out the facts and

          19    circumstances of the case.       I understand them, but it is not

02:43PM   20    acceptable.

          21               MR. LEVINE:    Your Honor, I completely agree, and I

          22    completely understand, and I have -- I mean, I expressed my

          23    apology for the error, but I understand the issue, your Honor.

          24    I assure you I hear you clearly and directly.          I assure you

          25    that I do.
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 1               THE COURT:    All right.    I'm going to ask the

 2    government to tag whatever it files as a motion, even if you're

 3    not seeking anything because CM-ECF will alert me to it.

 4    Sometimes if you file something and it doesn't have the motion

 5    designation, I may not see it right away.         Whatever is filed,

 6    I'd like it to be in the form of a motion, even if it's a

 7    motion for no further sanctions.        Okay.   Unless there's

 8    anything else, thank you.

 9               MR. LEVINE:    Thank you.

10               (Whereupon, the hearing was adjourned at 2:44 p.m.)

11                             C E R T I F I C A T E

12    UNITED STATES DISTRICT COURT )

13    DISTRICT OF MASSACHUSETTS ) ss.

14    CITY OF BOSTON )

15                I do hereby certify that the foregoing transcript,

16    Pages 1 through 11 inclusive, was recorded by me

17    stenographically at the time and place aforesaid in Civil

18    Action No. 15-11789-FDS, S.O, by and through her Mother and

19    Next Friend, LEAH PIRES vs. UNITED STATES OF AMERICA and

20    thereafter by me reduced to typewriting and is a true and

21    accurate record of the proceedings.

22                Dated February 21, 2018.

23                                s/s Valerie A. O'Hara
                                  _________________________
24                                 VALERIE A. O'HARA
                                   OFFICIAL COURT REPORTER
25
